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                            Artists Worldwide, inc.

                             Resolution to File
                            Chapter 7 Bankruptcy


    WHEREAS, the Corporation is insolvent and unable to pay its debts as
    they mature, and WHEREAS, it
    would be in the best interests ofcreditors for the Corporation to file a vol
    untary petition underChapter 7 of the Bankruptcy Code, it is:
    RESOLVED, that the Corporation file as soon as practicable abankruptcy
    in accordance with Chapter 7 of the Bankruptcy Code.
    The undersigned hereby certifies that he/she is the duly elected and
    qualified Secretary and the custodian of the books and records and seal
    of artists worldwide ,a corporation duly formed pursuant to the laws
    of the state of California and that the foregoing is a true
    record of a resolution duly adopted at a meeting of the Share
    Holders and that said meeting was held in accordance with
    state law and the Bylaws of the above-named Corporation on June
    28,2023,and that said resolution is now in full force and
    effect without modification or rescission.
    IN WITNESS WHEREOF, I have executed my name as Secretary and
    have hereunto affixed the corporate seal of the above-named
    Corporation this June 28, 2023.




    Chris Maggiore , CEO
